239 F.2d 642
    R. E. ARBUTHNOT et al.v.Bonnie DEVERICK.
    No. 5448.
    United States Court of Appeals Tenth Circuit.
    Aug. 1, 1956.
    
      Before BRATTON, Chief Judge, and PHILLIPS, Circuit Judge.
    
    
      1
      Docketed and dismissed on motion of appellee, for failure of appellants diligently to prosecute.
    
    
      2
      Royce, Hampton, Dunham, Royce &amp; Engleman, Salina, Kan., for appellants.
    
    
      3
      Morris, Bailey &amp; Kiser, Wichita, Kan., for appellee.
    
    